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Appendix A – Plaintiffs’ Exhibit List
                                                 UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF COLUMBIA
____________________________________________________
                                                     )
RUBY FREEMAN et al.,                                 )
          Plaintiff,                                 )
                                                     )
          v.                                         )    Civil Action No.: 21-cv-3354 (BAH)
                                                     )
RUDOLPH W. GIULIANI,                                 )
              Defendant.                             )
____________________________________________________)


                                                          PLAINTIFFS’ TRIAL EXHIBITS1

                                                                                                 ADMITTED
EXHIBIT                                                                               MARKED        IN                                WITNESS/
NUMBER                           DESCRIPTION OF EXHIBITS                              FOR I.D.   EVIDENCE     OBJECTION                DATE

PTX-1     Strategic Communications Plan, Giuliani Presidential Legal Defense Team
          Plan v2 with cites [Plan to Use]
PTX-2     Strategic Communications Plan, Giuliani Presidential Legal Defense Team
          Plan v1 [Plan to Use]
PTX-3     Transcript of Rudy Giuliani’s Common Sense Ep. 96, Christmas Is Not
          Canceled, It’s Vital This Year [Plan to Use]
PTX-4     Video of Rudy Giuliani's Common Sense Ep. 96, Christmas is Not Cancelled,
          Its Vital this Year [Plan to Use]
PTX-5     Transcript of Rudy Giuliani’s Common Sense, Who Will Be Our President?
          The Current State of Our Country [Plan to Use]
PTX-6     Video of Rudy Giuliani’s Common Sense, Who Will Be Our President? The
          Current State of Our Country [Plan to Use]
PTX-7     Video of OANs Chanel Rion Talks Election Fight with Rudy Giuliani [Plan
          to Use]
PTX-8     Transcript of OANs Chanel Rion Talks Election Fight with Rudy Giuliani
          [Plan to Use]
PTX-9     Transcript of Rudy Giuliani’s Common Sense Ep. 93, I Can’t Say This on
          National Television [Plan to Use]


1
 For ease of the Court’s review, Plaintiffs have provided a single exhibit list with parentheticals [Plan to Use] and [May Use]. If the Court would
prefer two separate lists, one noting plan to use and the other will use, Plaintiffs will promptly provide those to the Court.
                                  Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 2 of 30
                                                                                                      ADMITTED
EXHIBIT                                                                                   MARKED         IN                  WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                 FOR I.D.    EVIDENCE   OBJECTION    DATE

PTX-10    Video of Rudy Giuliani's Common Sense Ep. 93, I Can't Say This on National
          Television [Plan to Use]
PTX-11    Audio of Telephone Call between Donald J. Trump and Georgia Secretary of
          State Brad Raffensperger [Plan to Use]
PTX-12    Transcript of Telephone Call between Donald J. Trump and Georgia
          Secretary of State Brad Raffensperger, WSJ [Plan to Use]
PTX-13    Transcript of Trump's Georgia Call: Listen to the Audio and Read a Full
          Transcript, The Washington Post [Plan to Use]
PTX-14    Transcript of Trump's Speech at Rally Before Capitol Riot NPR [Plan to Use]
PTX-15    Video of President Trump Speech at January 6th Rally - WSJ [Plan to Use]
PTX-16    Audio of Rudy Giuliani In Focus with Stephanie Hamill - OAN [Plan to Use]
PTX-17    Transcript of Rudy Giuliani In Focus with Stephanie Hamill - OAN [Plan to
          Use]
PTX-18    Transcript of The Real Story - Uncovering the Crime of the Century with
          Rudy Giuliani - OAN [Plan to Use]
PTX-19    Video of The Real Story - Uncovering the Crime of the Century with Rudy
          Giuliani - OAN [Plan to Use]
PTX-20    Transcript of The Real Story - Exposing Disinformation with Rudy Giuliani,
          Rumble - OAN [Plan to Use]
PTX-21    Video of The Real Story - Exposing Disinformation with Rudy Giuliani,
          Rumble - OAN [Plan to Use]
PTX-22    Video of The Real Story - Pennsylvania Shenangians with Rudy Giuliani,
          Rumble - OAN [Plan to Use]
PTX-23    Transcript of The Real Story - Pennsylvania Shenangians with Rudy
          Giuliani, Rumble - OAN [Plan to Use]
PTX-24    Video of Rudy Giulianis Common Sense Ep. 204, Listen to what John
          Solomon Found Out about the Presidential Election! [Plan to Use]
PTX-25    Transcript of Rudy Giulianis Common Sense Ep. 204, Listen to what John
          Solomon Found Out about the Presidential Election! [Plan to Use]
PTX-26    Complaint, Freeman et al. v. Giuliani, No. 21-3354 (BAH) (D.D.C.) (D.I. 1)
          [May Use]
PTX-27    Amended Complaint, Freeman et al. v. Giuliani, No. 21-3354 (BAH)
          (D.D.C.) (D.I. 22) [May Use]
PTX-28    Defendant's Answers to Interrogatories [May Use]
PTX-29    Defendant's Amended Answers to Interrogatories [May Use]
PTX-30    Defendant's Responses to Requests For Admission (RFAs 1 - 61) [May Use]
                                                              Plaintiffs’ Exhibit List Page 2 of 30
                                  Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 3 of 30
                                                                                                      ADMITTED
EXHIBIT                                                                                   MARKED         IN                       WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                 FOR I.D.    EVIDENCE       OBJECTION     DATE

PTX-31    Defendant's Answers to Second Set of Interrogatories [May Use]
PTX-32    Memorandum Opinion re Motion to Dismiss, Freeman et al. v. Giuliani, No.                               Relevance, 402
          21-3354 (BAH) (D.D.C.) (D.I. 31) [May Use]
PTX-33    Order Denying Motion to Dismiss, Freeman et al. v. Giuliani, No. 21-3354                               Relevance, 402
          (BAH) (D.D.C.) (D.I. 30) [May Use]
PTX-34    Defendant's Responses to Second Requests for Admission [May Use]
PTX-35    Defendant's Responses to First Amended Requests for Admission [May Use]
PTX-36    Defendant's Answers to Third Set of Interrogatories [May Use]
PTX-37    Defendant's Responses to Second Amended Requests for Admission [May
          Use]
PTX-38    Defendant's Responses to First Amended Requests for Admission (Corrected)
          [May Use]
PTX-39    Defendant's Amended Responses to Second Requests for Admission [May
          Use]
PTX-40    Defendant's Supplemental Answers to First Set of Interrogatories [May Use]
PTX-41    Defendant's Answers to Fifth Set of Interrogatories [May Use]
PTX-42    Defendant's Answers to Fourth Set of Interrogatories [May Use]
PTX-43    Defendant's Supplemental Answers to Second Set of Interrogatories [May
          Use]
PTX-44    Defendant's Supplemental Answers to Third Set of Interrogatories [May Use]
PTX-45    Defendant's Verification by Declaration [May Use]
PTX-46    Defendant's Responses to Third Requests for Admission [May Use]
PTX-47    Defendant's Second Supplemental Answers to Third Set of Interrogatories
          [May Use]
PTX-48    Defendant's Responses to Fourth Requests for Admission [May Use]
PTX-49    Defendant's Responses to Fifth (Corrected) Requests for Admission [May
          Use]
PTX-50    Order Granting Sanctions, Freeman et al. v. Giuliani, No. 21-3354 (BAH)                                Relevance, 402
          (D.D.C.) (D.I. 93) [May Use]
PTX-51    Memorandum Opinion Granting Motion for Sanctions, Freeman et al. v.                                    Relevance, 402
          Giuliani, No. 21-3354 (BAH) (D.D.C.) (D.I. 94) [May Use]
PTX-52    Deposition Transcript of Bernard Kerik [May Use]
PTX-53    Deposition Video of Bernard Kerik [May Use]

                                                              Plaintiffs’ Exhibit List Page 3 of 30
                                  Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 4 of 30
                                                                                                        ADMITTED
EXHIBIT                                                                                     MARKED         IN                  WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                   FOR I.D.    EVIDENCE   OBJECTION    DATE

PTX-54    Deposition Transcript of Frank Paul Braun, III [May Use]
PTX-55    Deposition Video of Frank Paul Braun, III [May Use]
PTX-56    Deposition Transcript of Frances Watson [May Use]
PTX-57    Deposition Video of Frances Watson [May Use]
PTX-58    Deposition transcript of Abby Grossberg [May Use]
PTX-59    Deposition Transcript of Christina Bobb [May Use]
PTX-60    Deposition Video of Christina Bobb [May Use]
PTX-61    Deposition Transcript of Ray S. Smith III [May Use]
PTX-62    Deposition Video of Ray S. Smith III [May Use]
PTX-63    Deposition Transcript of Jenna Lynn Ellis [May Use]
PTX-64    Deposition Video of Jenna Lynn Ellis [May Use]
PTX-65    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-66    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-67    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-68    Anonymous Submission to LaRuby's Unique Treasures Website
PTX-69    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-70    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-71    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-72    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-73    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-74    LinkedIn Message to Ruby Freeman from G. Bunt dated December 4, 2020
PTX-75    Email to Ruby Freeman from M. Kaiser dated December 4, 2020
PTX-76    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020


                                                                Plaintiffs’ Exhibit List Page 4 of 30
                                 Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 5 of 30
                                                                                                   ADMITTED
EXHIBIT                                                                                MARKED         IN                  WITNESS/
NUMBER                          DESCRIPTION OF EXHIBITS                                FOR I.D.    EVIDENCE   OBJECTION    DATE

PTX-77    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-78    Facebook Message to Ruby Freeman from V. Smith dated December 4, 2020
PTX-79    Email to Ruby Freeman from G.Rodriguez dated December 4, 2020
PTX-80    Facebook Message to Ruby Freeman from E. Joseph dated December 4, 2020
PTX-81    Facebook Message to Ruby Freeman from J. Hughes dated December 4, 2020
PTX-82    Facebook Message to Ruby Freeman from S. Healy dated December 4, 2020
PTX-83    Facebook Calls to Ruby Freeman from D. Wayne dated December 4, 2020
PTX-84    Email to Ruby Freeman from Anonymous dated December 4, 2020
PTX-85    Email to Rudy Freeman from P. Ubhi dated December 4, 2020
PTX-86    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-87    Facebook Message to Ruby Freeman from R. Joshua dated December 4, 2020
PTX-88    Facebook Message to Ruby Freeman dated December 4, 2020
PTX-89    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-90    Instagram Activity, including recent comments on Ruby's posts dated
          December 4, 2020
PTX-91    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-92    LinkedIn Message to Ruby Freeman from T. Dispensa December 4, 2020
PTX-93    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-94    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-95    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-96    Facebook Message to Ruby Freeman from M. Brown dated December 4,
          2020
PTX-97    Anonymous Submission to LaRuby's Unique Treasures Website dated
          December 4, 2020
PTX-98    Comment from M. Brown on Ruby's LinkedIn post dated December 4, 2020
PTX-99    Facebook Message to Ruby Freeman from S. Laird dated December 4, 2020

                                                           Plaintiffs’ Exhibit List Page 5 of 30
                                Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 6 of 30
                                                                                                 ADMITTED
EXHIBIT                                                                              MARKED         IN                  WITNESS/
NUMBER                         DESCRIPTION OF EXHIBITS                               FOR I.D.    EVIDENCE   OBJECTION    DATE

PTX-100 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-101 Facebook Message to Ruby Freeman from M. Zara dated December 4, 2020
PTX-102 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-103 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-104 Facebook Message to Ruby Freeman from T. Delfs dated December 4, 2020
PTX-105 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-106 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-107 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-108 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-109 Facebook message to Ruby Freeman from K. Sweat dated December 4, 2020
PTX-110 Text Messages to Ruby Freeman from Unknown dated December 4, 2020
PTX-111 Comment from S. Douglas on Ruby's LinkedIn post dated December 4, 2020
PTX-112 Anonymous Review for LaRuby's Unique Treasures dated December 4, 2020
PTX-113 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-114 Text message to Ruby Freeman from Unknown dated December 4, 2020
PTX-115 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-116 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-117 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-118 Text message to Ruby Freeman from Unknown dated December 4, 2020
PTX-119 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-120 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-121 Email to Ruby Freeman from C. Magill dated December 4, 2020
                                                         Plaintiffs’ Exhibit List Page 6 of 30
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                                                                                                  ADMITTED
EXHIBIT                                                                                MARKED        IN                  WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                              FOR I.D.   EVIDENCE   OBJECTION    DATE

PTX-122 Text message to Ruby Freeman from Unknown dated December 4, 2020
PTX-123 Text message to Ruby Freeman from Unknown dated December 4, 2020
PTX-124 Facebook Message from M. Brown to Wandrea "Shaye" Moss dated
        December 4, 2020
PTX-125 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-126 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-127 Facebook Message from V. Beasley Seamans to Wandrea "Shaye" Moss,
        dated December 4, 2020
PTX-128 Facebook Message from L. Ann to Wandrea "Shaye" Moss dated December
        4, 2020
PTX-129 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-130 Facebook Message to Wandrea "Shaye" Moss from Unknown dated
        December 4, 2020
PTX-131 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 4, 2020
PTX-132 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 5, 2020
PTX-133 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 5, 2020
PTX-134 Facebook Message to Wandrea "Shaye" Moss from Unknown dated
        December 5, 2020
PTX-135 Text Message to Ruby Freeman from Unknown dated December 5, 2020
PTX-136 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 5, 2020
PTX-137 Facebook Message to Wandrea "Shaye" Moss from K. Salvatore, dated
        December 5, 2020
PTX-138 Anonymous Submission to LaRuby's Unique Treasures Website dated
        December 5, 2020
PTX-139 Text Message to Ruby Freeman’s Cash App dated December 5, 2020
PTX-140 PDF documenting Voicemail to Ruby Freeman Attacking Ruby's Faith
PTX-141 Voicemail to Ruby Freeman Attacking Ruby's Faith
PTX-142 Document reflecting voicemails to Ruby Freeman re Business and Slur
        (Freeman_Giuliani-00000148-50)
                                                          Plaintiffs’ Exhibit List Page 7 of 30
                                  Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 8 of 30
                                                                                                     ADMITTED
EXHIBIT                                                                                  MARKED         IN                       WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                FOR I.D.    EVIDENCE       OBJECTION     DATE

PTX-143 Voicemail to Ruby Freeman with question and racial slur [Plan to Use]
PTX-144 Voicemail to Ruby Freeman re burning down Ruby's Business [Plan to Use]
PTX-145 Voicemail to Ruby Freeman Repeating Racial Slur [Plan to Use]
PTX-146 Document reflecting voicemail to Ruby Freeman mentioning USB
PTX-147 Voicemail to Ruby Freeman mentioning USB [Plan to Use]
PTX-148 Voicemail to Ruby Freeman re Fall guys for Democrats [Plan to Use]
PTX-149 Document reflecting voicemails to Ruby Freeman re sex-based slurs and
        Traitor mentions (Freeman_Giuliani-00000156-57)
PTX-150 Voicemail to Ruby Freeman calling Ruby and Shaye sex-based slurs [Plan to
        Use]
PTX-151 Voicemail to Ruby Freeman to calling Ruby and Shaye Traitors [Plan to Use]
PTX-152 Document reflecting voicemail to Ruby Freeman re Wanted Traitor
        (Freeman_Giuliani-00000160)
PTX-153 Voicemail to Ruby Freeman re Wanted Traitor [Plan to Use]
PTX-154 Document reflecting voicemail to Ruby Freeman re Ashamed of cheating
PTX-155 Voicemail to Ruby Freeman re Ashamed of cheating [Plan to Use]
PTX-156 Document reflecting voicemail to Ruby Freeman re: Faith & "cheating for
        abortionist party"
PTX-157 Ruby Freeman Voicemail re: Faith & "cheating for abortionist party" [Plan to
        Use]
PTX-158 Ruby Freeman 911 Call Audio (Call 1 from 12.15 Incident)
PTX-159 Ruby Freeman 911 Call Audio (Additional Call from 12.15 Incident)
PTX-160 Ruby Freeman 911 Call Audio (Believed to be about Kutti)
PTX-161 Ruby Freeman 911 Call Audio (Call 1 of 2 from 1.14 Escourt Request)
PTX-162 Ruby Freeman 911 Call Audio (Call 2 of 2 from 1.14 Escourt Request)
PTX-163 Ruby Freeman 911 Call Audio (Escort Request)
PTX-164 Text Message to Ruby Freeman from unknown undated
PTX-165 Summary Exhibit of Threats Received by Ruby Freeman and Wandrea
        "Shaye" Moss between December 4-7, 2020 [Plan to Use]
PTX-166 SF 278 Executive Branch Personnel Public Filing of Rudolph W. Giuliani                                  Relevance, 402
PTX-167 Giuliani Rakes in Millions in Speaking Fees, Cleveland19.com                                            Relevance, 402

                                                             Plaintiffs’ Exhibit List Page 8 of 30
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                                                                                                     ADMITTED
EXHIBIT                                                                                  MARKED         IN                      WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                FOR I.D.    EVIDENCE       OBJECTION    DATE

PTX-168 IRS Form for Wandrea "Shaye" Moss - 2013 [Plan to Use]
PTX-169 IRS Form for Wandrea "Shaye" Moss - 2014 [Plan to Use]
PTX-170 IRS Form for Wandrea "Shaye" Moss -2015 [Plan to Use]
PTX-171 IRS Form for Wandrea "Shaye" Moss - 2016 [Plan to Use]
PTX-172 IRS Form for Wandrea "Shaye" Moss - 2017 [Plan to Use]
PTX-173 Tax Return for Rudy Giuliani - 2018
PTX-174 IRS Form for Wandrea "Shaye" Moss - 2018 [Plan to Use]
PTX-175 IRS Form for Wandrea "Shaye" Moss (Tax Return Transcript) - 2019 [Plan to
        Use]
PTX-176 IRS Form for Wandrea "Shaye" Moss (Wage Income Transcript) - 2019 [Plan
        to Use]
PTX-177 Stipulation of Settlement, Giuliani v. Giuliani, Index No. 350019/2018 (N.Y.
        Sup. Ct.)
PTX-178 Joshua Chaffin, Time to make some money: the business career of Rudy                                    Hearsay, 802
        Giuliani, Financial Times
PTX-179 Email from Jason Miller to Rudy Giuliani, Christina Bobb, and Larry
        Weitzner re Existing TV Ads
PTX-180 Transcript of Mornings with Maria Interview of Jenna Ellis about Combatting
        Election Fraud
PTX-181 @JennaEllisEsq, Twitter Profile and Follower Count as of November 3, 2020
PTX-182 Michael S. Schmidt and Maggie Haberman, Giuliani Is Said to Seek $20,000                                Hearsay, 802
        a Day Payment for Trump Legal Work, New York Times
PTX-183 @JennaEllisEsq, Twitter Profile and Follower Count as of December 5, 2020
PTX-184 @JennaEllisEsq, Twitter Profile and Follower Count as of January 6, 2021
PTX-185 Video: Trump still has multiple paths to victory with Jenna Ellis, Fox
        Business
PTX-186 Ben Brasch, Fulton County election results delayed after pipe bursts in room
        with ballots, Atlanta Journal Constitution
PTX-187 State Farm Arena Security Footage from Election Day 2020, 5.33.00 AM –
        5.34.00 AM (EST) All Four Frames (Water leak in early morning) [Plan to
        Use]
PTX-188 State Farm Arena Security Footage from Election Day 2020, 5.33.00 AM –
        5.34.00 AM (EST) All Four Frames (Water leak in early morning) [Plan to
        Use]

                                                             Plaintiffs’ Exhibit List Page 9 of 30
                                Case 1:21-cv-03354-BAH Document 105-1 Filed 11/14/23 Page 10 of 30
                                                                                                   ADMITTED
EXHIBIT                                                                               MARKED          IN                  WITNESS/
NUMBER                          DESCRIPTION OF EXHIBITS                               FOR I.D.     EVIDENCE   OBJECTION    DATE

PTX-189 State Farm Arena Security Footage from Election Day 2020, 07:06:43 AM -
        07:07:19 AM (EST) All Four Frames (Water leak post discovery) [Plan to
        Use]
PTX-190 State Farm Arena Security Footage from Election Day 2020, 07:57:33 AM -
        07:59:35 AM (EST) Top Right Frame (Water Leak clean-up and Zamboni)
        [Plan to Use]
PTX-191 State Farm Arena Security Footage from Election Day 2020, 08:21:01 AM -
        8:22:05 AM (EST) Top Right Frame (Table moved into place) [Plan to Use]
PTX-192 State Farm Arena Security Footage from Election Day 2020, 09:55:00 PM –
        09:59 PM (EST) All Four Frames (Alleged Announcement) [Plan to Use]
PTX-193 State Farm Arena Security Footage from Election Day 2020, 09.55:00 PM –
        10:35:00 PM (EST) All Four Frames (Expanded Clip of Alleged
        Announcement) [Plan to Use]
PTX-194 State Farm Arena Security Footage from Election Day 2020, Nov. 3 21:55
        (EST) - Nov. 4 2:00:00 (EST) Top Right Frame (Extended Clip of Evening
        Counting) [Plan to Use]
PTX-195 2020.11.03 State Farm Arena Security Footage from Election Day 2020,
        09.57.45 PM – 10.07.16 PM (EST) Top Right Frame (Ballot Boxes Pack-up)
        [Plan to Use]
PTX-196 State Farm Arena Security Footage from Election Day 2020, 09.57.35 PM –
        10.07.16 PM (EST) Right Two Frames (Ballot Boxes Pack-up) [Plan to Use]
PTX-197 State Farm Arena Security Footage from Election Day 2020, 9.57.00 PM –
        10.36.00 PM (EST) All Four Frames (Announcement through Observer exit)
        [Plan to Use]
PTX-198 State Farm Arena Security Footage from Election Day 2020, 10:28:00 PM –
        10:35 PM (EST) All Four Frames (Observer Exit Post-Alleged
        Announcement) [Plan to Use]
PTX-199 State Farm Arena Security Footage from Election Day 2020, 11.01 PM –
        11.05 PM (EST) Top Right Frame (Ballot Boxes taken-out) [Plan to Use]
PTX-200 State Farm Arena Security Footage from Election Day 2020, 11:01:00 PM–
        11:30:00 PM (EST) Top Right Frame (Expanded Clip of Ballot Boxes being
        unpacked) [Plan to Use]
PTX-201 Alleged USB Exchange Clip Excerpt from the Hill YouTube Channel from
        November 4, 2020 [Plan to Use]
PTX-202 State Farm Arena Security Footage from November 4, 2020, 14:25:20 -
        14:27:00 (EST) Bottom Right Frame (SFV Footage of the Alleged USB
        Exchange) [Plan to Use]

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                                                                                                        ADMITTED
EXHIBIT                                                                                    MARKED          IN                  WITNESS/
NUMBER                             DESCRIPTION OF EXHIBITS                                 FOR I.D.     EVIDENCE   OBJECTION    DATE

PTX-203 Transcript of recording of interview between Rudy Giuliani and Maria
        Bartiromo on Sunday Morning Futures
PTX-204 State Election Board Report - Unabridged Notes of Carter Jones
PTX-205 AP: Trump wins North Carolina but Georgia Too Close to Call
PTX-206 Transcript of recording of interview between Rudy Giuliani and Sidney
        Powell
PTX-207 Donald J. Trump for President, Inc. Companion Agreement
PTX-208 Georgia Secretary of State, Risk-Limiting Audit Report: Georgia Presidential
PTX-209 FOX 5 Atlanta Digital Team, AP calls Georgia for Biden As State Finalized
        Hand Recount Audit, FOX 5 Atlanta
PTX-210 Kate Brumback, Georgia Officials Certify Election Results Showing Biden
        Win, Associated Press
PTX-211 @JennaEllisEsq, I've said this before and I'll say it again: FIRST, we needed
        to file suits and recounts to STOP final certification inaccurate false results!
        SECOND, We will present testimonial and other evidence IN COURT to show
        how this election was STOLEN!
PTX-212 Transcript: The Beat with Ari Melber with guests Emily Bazelon, Jenna Ellis,
        Stacey Abrams
PTX-213 IRS Form for Wandrea “Shaye” Moss – 2020 [Plan to Use]
PTX-214 @RudyGiuliani, Georgia is having major #VoterFraud problems again
        because the Sec'y of State and Governor have done nothing about Democrat
        stealing the Presidential Vote.
PTX-215 Text message between Ryan Lucas and Rudy Giuliani re Barr’s comments re
        election fraud
PTX-216 @RudyGiuliani, I want you all to know I have an incredible team fighting
        everyday to expose the blatant theft of the Presidency of our great country.
PTX-217 Transcript of Interview of Jenna Ellis, Attorney for President Donald Trump
        on Fox Business
PTX-218 Email from Christina Bobb to Rudy Giuliani, Boris Epshteyn, Jenna Ellis,
        Bernie Kerik, Katherine Friess, cc'd, Mirna Tarraf, re GA Witness List &
        Affidavits
PTX-219 Election Law Subcomm. of the Standing Ga. Senate Judiciary Comm.,
        Summary of Testimony From December 3, 2020 Hearing (Dec. 30, 2020)
PTX-220 Text message between Rudy Giuliani and Ryan Lucas re Barr’s comments re
        election fraud

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                                                                                                       ADMITTED
EXHIBIT                                                                                   MARKED          IN                  WITNESS/
NUMBER                            DESCRIPTION OF EXHIBITS                                 FOR I.D.     EVIDENCE   OBJECTION    DATE

PTX-221 @BernardKerik #Evidence of a #crime, re: SFV while it was being shown at
        the December 3rd Hearing
PTX-222 Email from Katherine Friess to Bernie Kerik re GA Witness List & Affidavit
PTX-223 Transcript of Georgia State Legislature Hearing on Election Fraud December
        3, 2020
PTX-224 Transcript of Pick Presentation of State Farm Arena Security Footage at
        Georgia State Legislature Hearing on Election Fraud December 3, 2020,
        00.12.52 – 00.42.01 of Full Hearing
PTX-225 Video of Georgia State Legislature Hearing on Election Fraud December 3,
        2020
PTX-226 @TeamTrump, Video footage from Georgia shows that poll workers were
        told to stop counting and leave, while 4 people stayed behind to continue
        counting ballots in private [May Use]
PTX-227 Twitter Video for @TeamTrump, Video footage from Georgia shows that
        poll workers were told to stop counting and leave, while 4 people stayed
        behind to continue counting ballots in private [May Use]
PTX-228 Facebook Post, Team Trump, Video footage from Georgia shows that poll
        workers were told to stop counting and leave, while 4 people stayed behind to
        continue counting ballots in private [May Use]
PTX-229 @JennaEllisEsq, The VIDEO EVIDENCE being shown in the Georgia Senate
        Hearing is SHOCKING [May Use]
PTX-230 @JennaEllisEsq, 😳 @TeamTrump, Video footage from Georgia shows
        suitcases filled with ballots pulled from under a table AFTER supervisors told
        poll workers to leave room and 4 people stayed behind to keep counting
        votes.
PTX-231 Facebook Video for @TeamTrump, WATCH: Video footage from Georgia
        shows suitcases filled with ballots pulled from under a table AFTER
        supervisors told poll workers to leave room and 4 people stayed behind to
        keep counting [May Use]
PTX-232 @RudyGiuliani Twitter Profile and Follower Count as December 5, 2020
        [May Use]
PTX-233 @TeamTrump, WATCH: Video footage from Georgia shows suitcases filled
        with ballots pulled from under a table AFTER supervisors told poll workers
        to leave room and 4 people stayed behind to keep counting votes
        https://t.co/AcbTI1pxn4



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PTX-234 @realDonaldTrump, Wow! Blockbuster testimony taking place right now in
        Georgia. Ballot stuffing by Dems when Republicans were forced to leave the
        large counting room. Plenty more coming, but this alone leads to an easy win
        of the State! [Plan to Use]
PTX-235 Facebook Post, Donald J. Trump, Wow! Blockbuster testimony taking place
        right now in Georgia. Ballot stuffing by Dems when Republicans were forced
        to leave the large counting room. Plenty more coming, but this alone leads to
        an easy win of the State! [Plan to Use]
PTX-236 @RudyGiuliani, [Three sirens] @JennaEllisEsq, The VIDEO EVIDENCE
        being shown in the Georgia Senate Hearing is SHOCKING. Room cleared at
        10:30pm. 4 people stay behind. Thousands of ballots pulled from under a
        table in suitcases and scanned. FRAUD!!! [Plan to Use]
PTX-237 @RudyGiuliani, "WATCH: Video footage from Georgia shows suitcases
        filled with ballots pulled from under a table AFTER supervisors told poll
        workers to leave room and 4 people stayed behind to keep counting votes"
        [Plan to Use]
PTX-238 @RudyGiuliani, SMOKING GUN FROM GEORGIA [Plan to Use]
PTX-239 @RudyGiuliani, ELECTION IN GEORGIA IS NOW PROVEN TO BE A
        FRAUD [Plan to Use]
PTX-240 Email from Christianné Allen to Abby Grossberg, Kerrianne Itgen, cc'd,
        Connecting you (Sunday Morning Futures) - re Rudy Giuliani and Jenna Ellis
        being interviewed on Fox News
PTX-241 @realDonaldTrump, People in Georgia got caught cold bringing in massive
        numbers of ballots and putting them in “voting” machines. Great job
        @BrianKempGA! [Plan to Use]
PTX-242 Facebook Post, Donald J. Trump, People in Georgia got caught cold brining
        in massive numbers of ballots and putting them in 'voting' mchaines. Great
        job Brian Kemp! [Plan to Use]
PTX-243 @RudyGiuliani, The video tape doesn’t lie. Fulton County Democrats stole
        the election. It’s now beyond doubt. Go to the tape! [Plan to Use]
PTX-244 Transcript of Gabriel Sterling and Chad Robichaux on NewsMax Discuss the
        Georgia Ballot Fraud Situation, NewsMax
PTX-245 Affidavit of Mitchell Harrison, Trump v. Raffensperger, No. 2020CV343255
        (Ga. Super. Ct. Fulton Cnty.) (sworn 2020-11-09)
PTX-246 Affidavit of Michelle Branton, in Trump v. Raffensperger, No.
        2020CV343255 (Ga. Super. Ct. Fulton Cnty.) (sworn 2020-11-08)


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PTX-247 Text messages between Mirna Tarraf and Christina Bobb re Giuliani asking
        for timeline of GA video
PTX-248 Angelo Fichera, Video Doesn’t Show ‘Suitcases’ of Illegal Ballots in Georgia,
        FactCheck.org
PTX-249 Monkey Savant, Gabriel Sterling & Chad Robichaux on Newsmax Discuss
        the GA Ballot Fraud Situation
PTX-250 Transcript of Caught Red Handed, TRUMP WON Georgia, Common Sense
        Episode Transcript
PTX-251 Video of Caught Red Handed, TRUMP WON Georgia, Common Sense
        Episode
PTX-252 @GabrielSterling, The 90 second video of election workers at State Farm
        arena, purporting to show fraud was watched in its entirety (hours) by
        @GaSexofState investigators. Shows normal ballot processing. Here is the
        fact check on it
PTX-253 Stephen Fowler, Fact Checking Rudy Giuliani’s Grandiose Georgia Election
        Fraud Claim, Georgia Public Broadcasting
PTX-254 @RudyGiuliani, The Georgia middle of the night theft of thousands of votes
        changes everything. Watch it and Biden is not-elect anything. Looks like
        Biden Democrats doing a bank heist. In 5 states there are 800 sworn
        statements of eyewitnesses to Democrat cheating. States changing [Plan to
        Use]
PTX-255 @RudyGiuliani, The “Bank Heist tape changes the result in Georgia. The
        State Legislature has no choice but to assume its powers under the US
        Constitution, article II (1) [2] and select Trump electors. More important it
        seems th have the courage to do so [Plan to Use]
PTX-256 Email from Ray S. Smith III to Jacki Pick, State Farm Arena possible id of a
        poll worker
PTX-257 Text messages between Charles Herring and Christina Bobb discussing
        tracking down the people that pulled out the suitcases, offer immunity
PTX-258 @RudyGiuliani, Republican Legislature let down America. I'm ashamed of
        them. They completely misled the President and me. All of us Republicans let
        them know what we think of them.
PTX-259 Text messages between Rudy Giuliani and Christina Bobb re request to send
        Bowers tape of theft [The GA Suitcase tape?]
PTX-260 @BernardKerik, This spike is mathematically impossible without cheating,
        and it coincidently falls within the same timeline that the new ballots were
        captured. #StopTheSteal2020

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PTX-261 Text messages between Christina Bobb and Mirna Tarraf re request for charts
        of videos of GA State Farm Arena
PTX-262 Email from Bondi Beach to Jacki Daily re explosive fraud video . . . In this
        one Ruby Freeman and her daughter Shaye Moss are passing a usb stick to a
        man. Their behavior is very guilty.
PTX-263 @RudyGiuliani, How can it be disputed. It's like disputing a bank robbery
        when you have 4 cameras showing the robbery.
PTX-264 @RudyGiuliani, Are we going to let Democrats steal the election in front of
        our faces. If we cant stand up to the pressure of saving our country from
        rampant voter fraud because we are afraid of the elite reaction, we better find
        more courageous people for our party [Plan to Use]
PTX-265 @RudyGiuliani, The “Bank Heist” tape changes the result in Georgia. The
        State Legislature has no choice but to assume its powers under the US
        Constitution, article II (1) [2] and select Trump electors. More important it
        seems to have the courage to do so [Plan to Use]
PTX-266 @RudyGiuliani, Tonight I examine the VIDEO EVIDENCE on
        RudysCommonSense.com-STAY TUNED!, Retweeting @JennaEllisEsq, The
        VIDEO EVIDENCE being shown in the Georgia Senate Hearing is
        SHOCKING
PTX-267 Facebook Message to Wandrea "Shaye" Moss from K. Sweat dated December                                     Hearsay, 802
        4, 2020
PTX-268 Facebook Message to Wandrea "Shaye" Moss from A. Peduzzi dated                                            Hearsay, 802
        December 4, 2020
PTX-269 @RudyGiuliani, How can it be disputed. It’s like disputing a bank robbery
        when you have 4 cameras showing the robbery [Plan to Use]
PTX-270 Voicemail on Wandrea "Shaye" Moss's minor son's phone re facing jail time                                 Hearsay, 802
        (12/04/20 18:16)
PTX-271 @RudyGiuliani, Tonight I examine the VIDEO EVIDENCE on
        https://t.co/zh6vfE0bli - STAY TUNED! [Plan to Use]
PTX-272 Email from Christina Bobb to Russell "Rusty" Bowers, re GA hearing video
        where the ballots were illegally stuffed at the State Farm Arena
PTX-273 WSB-TV Interview: Georgia election officials show frame-by-frame what
        happened in Fulton surveillance video
PTX-274 Email from Christina Bobb to Mirna Tarraf, re State Farm Arena Video
        Timeline
PTX-275 Voicemail on Wandrea "Shaye" Moss's minor son's phone containing                                          Hearsay, 802
        misogynistic slurs and threats of jail and Hell (12/04/20 20:35)

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PTX-276 Email from Christina Bobb to Mirna Tarraf, re State Farm Arena Video
        Timeline
PTX-277 Facebook Message to Wandrea "Shaye" Moss from G. Tremble dated                                             Hearsay, 802
        December 4, 2020
PTX-278 Voicemail on Wandrea "Shaye" Moss's minor son's phone re treason jail and                                  Hearsay, 802
        death (12/04/20 22:06)
PTX-279 Declaration of Frances Watson, Pearson v. Kemp et al., No. 1:20-cv-4809-
        TCB (N.D. Ga.)
PTX-280 Tweet from @naq2323 re Ruby Freeman dated December 5, 2020 [Plan to                                        Hearsay, 802
        Use]
PTX-281 Facebook Message to Wandrea "Shaye" Moss from D. Mrvos McQueen,                                            Hearsay, 802
        dated December 5, 2020
PTX-282 Tweet from @Cdenamzug re Ruby Freeman dated December 5, 2020 [Plan to                                      Hearsay, 802
        Use]
PTX-283 Facebook Message to Wandrea "Shaye" Moss from I. Michael dated                                             Hearsay, 802
        December 5, 2020
PTX-284 @RudyGiuliani, VIDEO EVIDENCE: Caught Red Handed, TRUMP WON
        GEORGIA! Rudy Giuliani Analyzes Video Evidence Here: [May Use]
PTX-285 Email from Jacki Daily to Ashley Tetterton, cc'd, Ray S. Smith III, re Possible
        Additional Information for case pertaining in Georgia relating to the State
        Farm Arena Presidential Election/ Fulton County Poll Workers
PTX-286 Facebook Message to Wandrea "Shaye" Moss from T. Pierce dated December                                     Hearsay, 802
        5, 2020
PTX-287 @BernardKerik Now what can possible be on that thumb drive? What's so
        secret , that they must act like it's a drug deal? Or, is it just my imagination?
        Same woman counting concealed ballots in Georgia? Video Breakdown USB
        HANDOFF RUBY FREEMAN TO DAUGHTER youtu.be/ul0kl7JTPNo
PTX-288 Text messages between Cleta Mitchell, Jacki Pick, and Jenny Martin re Rudy
        Giuliani testing positive for Covid
PTX-289 Tweet from @rretoria re Ruby Freeman dated December 6, 2020 [Plan to                                       Hearsay, 802
        Use]
PTX-290 Voicemail on Wandrea "Shaye" Moss's minor son's phone asking for help                                      Hearsay, 802
        fixing an upcoming election (12/06/20 2:25)
PTX-291 C-SPAN Video of news briefing held by Georgia Secretary of State Brad
        Raffensperger on update to George Final 2020 Presidential Recount Results
PTX-292 Transcript of news briefing held by Georgia Secretary of State Brad
        Raffensperger on update to George Final 2020 Election Results

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PTX-293 Nick Corasaniti, Top Georgia election official debunks 'ridiculous' claims
        about election fraud, New York Times
PTX-294 @RudyGiuliani, [2 siren emoji] A MUST WATCH - VIDEO EVIDENCE
        FROM GEORGIA! I analyze it here: [May Use]
PTX-295 @RudyGiuliani, This is showing real leadership to achieve an honest result
        in a state where the election was stolen right in front of our eyes. Captured
        for history by the security cameras. [May Use]
PTX-296 Text messages between Boris Epshteyn, Rudy Giuliani and 7 add'tl phone
        numbers, re Trump request for best examples of election fraud [REDACTED
        IN THE ORIGINAL]
PTX-297 Tweet from @chessie12222 dated December 7, 2020 [Plan to Use]                                              Hearsay, 802
PTX-298 Jason Miller Position Paper: Five States and The Illegal Votes: Why the
        November 3, 2020 General Election was Not Won By Biden (Allegations of
        Fraud in AZ, GA, MI, PA, WI)
PTX-299 Tweet from @babydoll7777777 re Ruby Freeman dated December 8, 2020                                         Hearsay, 802
        [Plan to Use]
PTX-300 @RudyGiuliani, The Georgia Vote-Counting Video was not 'Debunked' not
        even close!!! , includes link to thefederalist.com article The Georgia Vote-
        Counting Video was Not 'Debunked.' Not Even Close [May Use]
PTX-301 @RudyGiuliani, A MUST WATCH! VIDEO EVIDENCE: The election was
        stolen right in front of our eyes. Captured for history by the security cameras.
        Rudy Giuliani Analyzes Video Evidence Here: https://t.co/UPzIJsUhrj
        https://t.co/c8wYZp8e4y [May Use]
PTX-302 @RudyGiuliani, The Georgia video proves now, and for posteriy, that
        crooked Democrat officials stole the votes to try to win the state. [May Use]
PTX-303 Voicemail on Wandrea "Shaye" Moss's minor son's phone asking for long                                      Hearsay, 802
        braids and USB sticks (12/09/20 3:23)
PTX-304 @RudyGiuliani, The Georgia video evidence PROVES now, and for posterity,
        that crooked Democrat officials stole the votes to try to win the state!
        Republicans are covering up for them. Why? I analyze the video evidence
        here: https://t.co/e81S8vQV6E [May Use]
PTX-305 Letter from Benesch to Fox News Network re Legal Notice and Restraction
        Demand from Smartmatic USA Corp.
PTX-306 Transcript of Governmental Affairs Hearing, Georgia House of
        Representatives Hearing on Election Fraud December 10, 2020



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PTX-307 Video of Rudy Giuliani and Jackie Pick before Georgia House of
        Representatives Hearing on Election Fraud December 10, 2020, 01.35.48 –
        02.02.45 of Full Hearing
PTX-308 @RudyGiuliani, Back 100% and lost little time. Testifying at 11Am before
        Georgia legislature on the additional “Live from Atlanta” election theft
        tapes. No evidence of fraud. Watch the Video tapes and make up your own
        mind [May Use]
PTX-309 @BernardKerik, If Texas is looking for evidence of voter and election fraud,
        tune in today and listened to @RudyGiuliani's presentation in Atlanta
        Georgia at 11AM! Midnight ballots, dirty dominion machines in Smartmatic
        software, and statistic impossibilies. #StopTheSteal
PTX-310 @RudyGiuliani, [Two Sirens], @TeamTrump, Mayor @RudyGiuliani plays
        the video footage from Georgia showing suitcases filled with ballots pulled
        from under a table AFTER supervisors told poll workers to leave room [May
        Use]
PTX-311 @BrendanKeefe, Here's the clip. "Passing around USB ports like they were
        vials of heroin or cocaine."
PTX-312 @TeamTrump, Mayor @RudyGiuliani plays the video footage from Georgia
        showing suitcases filled with ballots pulled from under a table AFTER
        supervisors told poll workers to leave room https://t.co/3HnYCMtPHP [May
        Use]
PTX-313 @BernardKerik, if @GeoffDuncanGA and @GovKemp certify their election
        where there is 100% irrefutable proof of #electionfraud involving at least
        24,000 ballots, they should be impeached.
PTX-314 Facebook Post, Team Trump, Campaign Video, The Evidence is
        Overwhelming [May Use]
PTX-315 Facebook Post, Team Trump, America deserved an honest election…
        [includes video: The Evidence is Overwhelming] [May Use]
PTX-316 Facebook Post, Team Trump, The American people deserve to know the truth
        about the 2020 election…. [includes video: STOP THE STEAL!] [May Use]
PTX-317 Facebook Post, Team Trump, Campaign Video, STOP THE STEAL! [May
        Use]
PTX-318 Email from Christina Bobb to Jenna Ellis re Electors Statement
PTX-319 @BernardKerik Gettysburg saved this nation once, and can do it again. The
        legislators @RudyGiuliani and I met there appeared honest and to have
        courage! It's now time to stand up I'm sure the rest of the country how it's
        done. #EIection2020 #ELECTORS

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PTX-320 Email from Christina Bobb to Boris Epshteyn, Jenna Ellis, and Jason Miller
        re electors debate[REDACTED IN THE ORIGINAL]
PTX-321 Email from Jenna Ellis to Christina Bobb, cc'd Boris Epshteyn, Jason Miller
        re edits to electors statement
PTX-322 Email from Christina Bobb to Rudy Giuliani, Maria Ryan, Jenna Ellis, and
        Jason Miller re proposed electors statement
PTX-323 Email from Christina Bobb to Jenna Ellis, cc' Boris Epshteyn and Jason
        Miller re draft statement about election fraud for Mayor [REDACTED IN
        THE ORIGINAL]
PTX-324 Email from Christina Bobb to Rudy Giuliani, Maria Ryan, Jenna Ellis, Jason
        Miller, and Boris Epshteyn re draft statement for Mayor re election fraud
        [REDACTED IN THE ORIGINAL]
PTX-325 @BernardKerik Ruby Freeman and her daughter in Georgia have yet to be
        questioned before a grand jury and there's been no #MSM coverage of their
        alleged crimes that were seen around the world. #coverup #censorship
        #Election2020 #StopTheSteal2020
PTX-326 Email from Tim Murtaugh to Jason Miller, Eric Herschmann, and Justin
        Clark, requesting update on the following statement - alternate slate of
        electors will send results up to Congress [REDACTED IN THE ORIGINAL]
PTX-327 Email from Jason Miller to Rudy Giuliani re Axios: Dominion Voting
        Demands Sidney Powell retract baseless election claims
PTX-328 Dan Evon, Ruby Freeman was not arrested by the FBI, Snopes.com
PTX-329 Email from Jason Miller to Rudy Giuliani, Christina Bobb, Jenna Ellis, Boris
        Epshteyn, Mike Roman, Christianne Allen, Victoria Toensing, Cleta Mitchell,
        Updated talking points and substantiated examples of fraud [REDACTED IN
        THE ORIGINAL]
PTX-330 Email from Christina Bobb to Charles Herring, Chanel Rion, and OANN
        Producers re Updated talking points and substantiated examples of fraud
        [REDACTED IN THE ORIGINAL]
PTX-331 Emails between Jason Miller, Larry Weitzner, Carlos Cruz, Nick Poche re
        Paid Advertising Marching Orders
PTX-332 Tweet from @shadyone33 re Ruby Freeman dated December 21, 2020 [Plan                                    Hearsay, 802
        to Use]
PTX-333 Tweet from @norace83 re Ruby Freeman dated December 22, 2020 [Plan to
        Use]
PTX-334 Transcript of call between Frances Watson and Donald J. Trump (made public
        2021-03-10)

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PTX-335 @TeamTrump, The American people deserve to know the truth about the
        2020 election. President @realDonaldTrump won in a landslide! [includes
        video: STOP THE STEAL!] [Plan to Use]
PTX-336 @TeamTrump, Campaign Video, STOP THE STEAL! [Plan to Use]
PTX-337 @TeamTrump, Campaign Video, The media won't admit it - but it is on
        video. #StopTheSteal [Plan to Use]
PTX-338 @TeamTrump, The media won't admit it - but it is on video. #StopTheSteal
        [includes video: The media won't admit it -- but it is on video. #StopTheSteal]
        [Plan to Use]
PTX-339 Tweet from @NJCommonSense re Ruby Freeman dated December 24, 2020                                         Hearsay, 802
        [Plan to Use]
PTX-340 Tweet from @Bobby26991509 re Ruby Freeman dated December 24, 2020                                         Hearsay, 802
        [Plan to Use]
PTX-341 Email from Katherine Friess to Rudy Giuliani re Giuliani Team Strategic
        Communications plan - for your review
PTX-342 @BernardKerik, For Georgia, Georgia Margin: 10,000 votes, Video of Ruby
        and Shay at midnight o That is the time of the 200,000 vote bump similar
        interruptions at same time in other states o No Watermain Break - a lie to get
        the Republican observers and media to leave at 10:30pm
PTX-343 @BernardKerik of GSP state summaries (PA, AZ, GA), Hey stupid, no
        evidence? You can't be that much of a moron, so it's got to be something else
PTX-344 @RudyGiuliani, Déjà vu all over again, This is a repeat of the Democrats in
        Georgia producing phony mail ballots again to steal the election. Why won't
        Governor call SPECIAL SESSION to change false certification of the
        November election. What's the deal with him and the Secretary of State?
PTX-345 Email from Bernard Kerik to Mark Meadows, re Giuliani Team Strategic
        Communications Plan, attaching Giuliani Team Strategic Communications
        Plan
PTX-346 Email from Bernard Kerik re More Votes Cast Than Eligible Voters - JaNelle
        Cobb to Katherine Friess for Rudy Giuliani
PTX-347 @BernardKerik, Mayor Rudy Giuliani @TeamTrump testifies today at
        Georgia State Senate hearing on election fraud. The hearing exposed
        overwhelming evidence of fraud!
PTX-348 @BernardKerik, This is the stuff they do in a Third World country, and if we
        let them get away with this, it will get so much worse. @RudyGiuliani
        speaking about the overwhelming election fraud in the state of Georgia!


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PTX-349 @RudyGiuliani, There must something wrong with this guy. The Fulton
        County video shows the Democrats stealing thousands of votes. At least
        10,000 dead people voted. They won’t allow anyone to examine phony
        Dominion voting machines, etc. He can’t be a Republican? [May Use]
PTX-350 Capture of WHO Will Be Our PRESIDENT The Current State of Our country
        Rudy Giuliani Ep. 97 - YouTube [Plan to Use]
PTX-351 Petitioners' Notice of Filing of Exhibit 12 to Verified Petition to Contest
        Georgia's Presidential Election Results for Violations of the Constitution and
        Laws of the State of Georgia . . ., Mitchell Harrison Affidavit attached
PTX-352 @RudyGiuliani, VIDEO EVIDENCE: Caught Red Handed, TRUMP WON
        GEORGIA! Rudy Giuliani Analyzes Video Evidence Here:
        youtu.be/PchtaUsRH70
PTX-353 Police Incident Detail Report
PTX-354 @RudyGiuliani, As we enter 2021, it’s a new day. We have the proof. We’ve
        presented it. They are the liars and cheats including some Republicans. Time
        to expose them including our so-called own.
PTX-355 Tweet from @EileenWolf re Ruby Freeman dated January 3, 2021 [Plan to                                    Hearsay, 802
        Use]
PTX-356 Voicemail on Wandrea "Shaye" Moss's minor son's phone re the January                                     Hearsay, 802
        runoff election asking to count votes multiple times (01/03/21 18:46)
PTX-357 Tweet from @TexansRVPark169 re Ruby Freeman dated January 3, 2021                                        Hearsay, 802
PTX-358 Tweet from @DAWG08521692 re Ruby Freeman dated January 3, 2021                                           Hearsay, 802
        [Plan to Use]
PTX-359 Tweet from @Tprinzilla re Ruby Freeman dated January 3, 2021                                             Hearsay, 802
PTX-360 Transcript of Georgia voting official Gabriel Sterling Press Conference
PTX-361 Draft of POTUS speech in Georgia January 4, 2021
PTX-362 Ryan Taylor, Donald Trump Georgia Phone Call Transcript with Sec. of
        State Brad Raffensperger: Says He Wants to 'Find' Votes, Rev.com
PTX-363 Front Door Security Camera Image of a Woman at Ruby Freeman's Front
        Door
PTX-364 Second Front Door Security Camera Image of a Woman at Ruby Freeman's
        Front Door
PTX-365 Tweet from @HanselSchatzi re Ruby Freeman dated January 3, 2021                                          Hearsay, 802
PTX-366 @TeamTrump, Mayor @RudyGiuliani on election fraud: "This Stops right
        now. No more of this stuff in America."
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PTX-367 Tweet from @Steel777777 re Ruby Freeman dated January 3, 2021 [Plan to                                  Hearsay, 802
        Use]
PTX-368 Facebook Post, Rudy Giuliani, "This Election is Going to Go Down in
        History as the Dirtiest, Most Crooked, and Manipulated Election in American
        History" [May Use]
PTX-369 Text message of POTUS January 4, 2021 speech in Georgia
PTX-370 Email from Rudy Giuliani to Christina Bobb [REDACTED IN THE
        ORIGINAL]
PTX-371 Email from Jacki Pick to David Reaboi with proposed news article, Fact
        Checking Gabe Sterling and the GA Secretary of State's Office
PTX-372 Email from Trevian Kutti to Ruby Freeman re Attorney                                                    Hearsay, 802
PTX-373 Facebook message from C. Bell Osborne to Ruby Freeman dated January 6,                                  Hearsay, 802
        2021
PTX-374 Tweet from @daviddavidsocal re Ruby Freeman dated January 6, 2021 [Plan                                 Hearsay, 802
        to Use]
PTX-375 Voicemail on Wandrea "Shaye" Moss's minor son's phone re "it's all coming                               Hearsay, 802
        out" (01/15/21 4:43)
PTX-376 Voicemail on Wandrea "Shaye" Moss's minor son's phone re threats of                                     Hearsay, 802
        hanging in the coming days (01/15/21 4:47)
PTX-377 Voicemail on Wandrea "Shaye" Moss's minor son's phone re coming clean if                                Hearsay, 802
        you want to survive (01/15/21 4:46)
PTX-378 Email from P@bonfiresearch.org to Christina Bobb, request for subtitles of
        Fulton County Election Video
PTX-379 Voicemail on Wandrea "Shaye" Moss's minor son's phone containing threats                                Hearsay, 802
        of execution (01/16/21 5:08)
PTX-380 Voicemail on Wandrea "Shaye" Moss's minor son's phone containing threats                                Hearsay, 802
        of execution (01/16/21 5:15)
PTX-381 Voicemail on Wandrea "Shaye" Moss's minor son's phone re the video                                      Hearsay, 802
        (01/16/21 5:17)
PTX-382 Voicemail on Wandrea "Shaye" Moss's minor son's phone re hanging for                                    Hearsay, 802
        treason (01/16/21 5:19)
PTX-383 Voicemail on Wandrea "Shaye" Moss's minor son's phone re treason is                                     Hearsay, 802
        punishable by death (01/16/21 5:20)
PTX-384 Voicemail on Wandrea "Shaye" Moss's minor son's phone re dying by fire                                  Hearsay, 802
        (01/16/21 5:21)
PTX-385 Voicemail on Wandrea "Shaye" Moss's minor son's phone re threats of Gitmo                               Hearsay, 802
        and execution (01/16/21 5:24)
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PTX-386 Voicemail on Wandrea "Shaye" Moss's minor son's phone re threats of Gitmo                                Hearsay, 802
        and execution (01/16/21 5:24)
PTX-387 Voicemail on Wandrea "Shaye" Moss's minor son's phone re threats of                                      Hearsay, 802
        execution (01/16/21 5:25)
PTX-388 Voicemail on Wandrea "Shaye" Moss's minor son's phone re dying by fire                                   Hearsay, 802
        (01/16/21 5:28)
PTX-389 Voicemail on Wandrea "Shaye" Moss's minor son's phone re treason                                         Hearsay, 802
        (01/16/21 5:29)
PTX-390 Voicemail on Wandrea "Shaye" Moss's minor son's phone (01/16/21 5:30)                                    Hearsay, 802
PTX-391 Voicemail on Wandrea "Shaye" Moss's minor son's phone (01/16/21 5:32)                                    Hearsay, 802
PTX-392 Voicemail on Wandrea "Shaye" Moss's minor son's phone implying they are                                  Hearsay, 802
        cowards (01/16/21 5:34)
PTX-393 Khaleda Rahman, Rudy Giuliani Admits an Associate Did Ask For $20,000 a
        Day from Donald Trump Campaign, Newsweek
PTX-394 Ruby Freeman Airbnb Receipt [CONFIDENTIAL] [Plan to Use]
PTX-395 Tweet from @BiffTannen_2015 re Ruby Freeman dated February 28, 2021                                      Hearsay, 802
        [Plan to Use]
PTX-396 Deposition Transcript of James P. Callaway, Jeffords et al. v. Fulton Cnty.,                             Hearsay, 802
        No. 2020CV343938 (Ga. Sup. Ct. Fulton Cnty.)
PTX-397 Josh Feldman, Chris Wallace Confronts Lewandowski on 2020 Election:                                      Hearsay, 802
        'Don't Blame This On the Media, You Had Your day in Court and You Lost',
        mediaite.com [May Use]
PTX-398 Medical Record: Paulette M. Jarmon Visit Summary with Wandrea "Shaye"
        Moss [CONFIDENTIAL]
PTX-399 Email from Maria Ryan to TruthandJustice4u@protonmail.com, Christina
        Bobb, John Leventhal, and Judge Kamins re Fulton County, Georgia
        Affidavits
PTX-400 IRS Form for Wandrea "Shaye" Moss - 2021 [Plan to Use]
PTX-401 Email from Christina Bobb to Marji Ross re For AP Interview Fraud
        [REDACTED IN THE ORIGINAL]
PTX-402 Letter from Parlatore Law Group to January 6th Select Committee re Kerik
        Production
PTX-403 Email from Christina Bobb to TruthandJustice4U@protonmail.com, and
        Maria Ryan, re email from Michael Smith offering to assist in defending
        Rudy Giuliani in Ruby Freeman matter [REDACTED IN THE ORIGINAL]
PTX-404 Ruby Freeman Private Rental Receipt [CONFIDENTIAL] [Plan to Use]

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PTX-405 Email from Christina Bobb to Sergio Gor re Update attaching Mansucript
        Crime of the Century and Table of Contents [REDACTED IN THE
        ORIGINAL]
PTX-406 Select Committee to Investigate the January 6th Attack on the U.S. Capitol,                             Hearsay, 802
        Interview of Christina Bobb [REDACTED IN THE ORIGINAL]
PTX-407 Email from Christina Bobb to Jason Miller, NDA- Manuscript Crime of the
        Century Attached [REDACTED IN THE ORIGINAL]
PTX-408 Email from Christina Bobb to Christina Bobb with attachment of Manuscript
        Crime of the Century [REDACTED IN THE ORIGINAL]
PTX-409 In re: Special Purpose Grand Jury, Petition for Certification of Need for                               Relevance and/or
        Testimony                                                                                               Hearsay 402, 802
PTX-410 Email from Christina Bobb to Christina Bobb, re Christina Bobb's Manuscript
        [REDACTED IN THE ORIGINAL]
PTX-411 Private chat message from Christina Bobb to Rudy Guiliani [REDACTED IN
        THE ORIGINAL]
PTX-412 Jacki Pick's Objections and Responses to Plaintiff's' Subpoena Duces Tecum,                             Relevance and/or
        Freeman et al. v. Giuliani, No. 1:21-cv-3354 (D.D.C.)                                                   Hearsay 402, 802
PTX-413 Medical Record: Ah R. Shin Visit Summary with Wandrea "Shaye" Moss
        [CONFIDENTIAL] [Plan to Use]
PTX-414 Complaint, Pick v. Raffensperger, No. 7:22-cv-00112-O (N.D. Tex.)                                       Relevance and/or
                                                                                                                Hearsay 402, 802
PTX-415 Ruby Freeman Closing Disclosure [CONFIDENTIAL] [Plan to Use]
PTX-416 Ruby Freeman Uniform Residential Loan Application [CONFIDENTIAL]
        [Plan to Use]
PTX-417 Ruby Freeman Electric Payments (Jan-Oct 2023) [CONFIDENTIAL] [Plan to
        Use]
PTX-418 Ruby Freeman Water Payments (Feb-Oct 2023) [CONFIDENTIAL] [Plan to
        Use]
PTX-419 Ruby Freeman Gas Payments (Jan-May 2023) [CONFIDENTIAL] [Plan to
        Use]
PTX-420 Ruby Freeman Mortgage Payments (Jan-Sep 2023) [CONFIDENTIAL] [Plan
        to Use]
PTX-421 Ruby Freeman Mortgage Letter [CONFIDENTIAL] [Plan to Use]
PTX-422 Ruby Freeman Truist Checking Bank Statement - Moving Costs
        [CONFIDENTIAL] [Plan to Use]

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PTX-423 Produced in Native Format (Freeman_Giuliani-00000499) Ruby Freeman 911
        Call Audio re: man banging on door
PTX-424 Produced in Native Format (Freeman_Giuliani-00000499) Ruby Freeman 911
        Call Audio re: man banging on door
PTX-425 Stipulation to Discipline Pursuant to C.R.C.P. 242.19, People of Colorado v.                            Relevance and/or
        Ellis (Colo.)                                                                                           Hearsay 402, 802
PTX-426 Gilbert C. Hughes Report of Investigation SEB Case #: SEB2020-059, Case
        Name: Fulton County-Poll Worker Fraud
PTX-427 Oliver Darcy and Marshall Cohen, Fox News banned Trump legal team from                                  Relevance and/or
        air in December 2020, new text message shows, CNN.com                                                   Hearsay 402, 802
PTX-428 May 2023 Jensen Hughes Threat Intelligence and Monitoring Report [Plan to
        Use]
PTX-429 Medical Record: Ah R. Shin Visit Summary with Wandrea "Shaye" Moss
        [CONFIDENTIAL] [Plan to Use]
PTX-430 Expert Report of Professor Ashlee Humphreys - Appendix A [May Use]
PTX-431 Expert Report of Professor Ashlee Humphreys - Appendix D [May Use]
PTX-432 Expert Report of Professor Ashlee Humphreys - Appendix E [May Use]
PTX-433 Expert Report of Professor Ashlee Humphreys - Appendix F [May Use]
PTX-434 Expert Report of Professor Ashlee Humphreys - Appendix H [May Use]
PTX-435 Expert Report of Professor Ashlee Humphreys - Appendix I [May Use]
PTX-436 Expert Report of Professor Ashlee Humphreys - Appendix J [May Use]
PTX-437 Expert Report of Professor Ashlee Humphreys - Appendix K [May Use]
PTX-438 Expert Report of Professor Ashlee Humphreys - Figure 1 - The Media System
        [May Use]
PTX-439 Expert Report of Professor Ashlee Humphreys - Figure 2 - Information
        Cascade [May Use]
PTX-440 Expert Report of Professor Ashlee Humphreys - Figure 3 - Equation 1a [May
        Use]
PTX-441 Expert Report of Professor Ashlee Humphreys - Figure 7 - Google Trends
        Analysis for Ruby Freeman [Plan to Use]
PTX-442 Expert Report of Professor Ashlee Humphreys - Figure 4 - Equation 1b [May
        Use]
PTX-443 Expert Report of Professor Ashlee Humphreys - Figure 5 - Equation 1 [May
        Use]
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PTX-444 Expert Report of Professor Ashlee Humphreys - Figure 6 - Equation 3 [May
        Use]
PTX-445 Expert Report of Professor Ashlee Humphreys - Table 03 - Likes and
        Comments for Each Platform [Plan to Use]
PTX-446 Expert Report of Professor Ashlee Humphreys - Table 02 - Top Related
        Queries and Entities on Google Trends [May Use]
PTX-447 Expert Report of Professor Ashlee Humphreys - Table 04 - Top 20 Platforms
        in Social Media data from Jensen Hughes - 11.01.2020 to 06.20.2021 [Plan to
        Use]
PTX-448 Expert Report of Professor Ashlee Humphreys - Table 05 - Volume and
        mentions of Ms. Freeman and Ms. Moss on top sites 03.14.2021 to
        04.30.2022 [Plan to Use]
PTX-449 Expert Report of Professor Ashlee Humphreys - Table 06 - Comments on
        Social Media from Jensen Hughes [May Use]
PTX-450 Expert Report of Professor Ashlee Humphreys - Table 07 - Comments on
        Social Media from Brandwatch [May Use]
PTX-451 Expert Report of Professor Ashlee Humphreys - Table 08 - Percent of Trump
        Supportes in Each Media Audience [May Use]
PTX-452 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E199): What’s
        Next for Joe and Hunter Biden?, X (July 27, 2023, 8:00 PM)
PTX-453 The Rudy Giuliani Show 7.28.23, WABC 77 (July 28, 2023)
PTX-454 Expert Report of Professor Ashlee Humprhies, Ph.D. [Plan to Use]
PTX-455 Jensen Hughes Spreadsheet Nov 2020 to June 2021 (Native) [Plan to Use]
PTX-456 Jensen Hughes Spreadsheet Nov 2020 to June 2021 [Plan to Use]
PTX-457 Expert Report of Professor Ashlee Humphreys Clean Impressions Sheet
        (Native) [May Use]
PTX-458 Expert Report of Professor Ashlee Humphreys Clean Impressions Cover
        Sheet [May Use]
PTX-459 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E202):
        Bidenistas Indict President Trump For Exercising His Free Speech Rights, X
        (Aug. 1, 2023, 8:00 PM)
PTX-460 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E203):
        Bidenistas Indict President Trump, X (Aug. 2, 2023, 8:00 PM)
PTX-461 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E206): Why Did
        Bill Bar [sic] Cover Up The Hunter Biden Laptop Hard Drive?, X (Aug. 7,
        2023, 8:00 PM)

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PTX-462 In the Indictment | 08-15-23, WABC 77 (Aug. 15, 2023)                                                 Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-463 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E212): Rudolph
        William Louis Giuliani Responds to Fulton County's Buffoonery, X (Aug. 15,
        2023, 8:00 PM)
PTX-464 What About the Other Guy? | 08-16-23, WABC 77 (Aug. 16, 2023)                                         Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-465 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E213):
        American Deception & Uncovering the Truth, X (Aug. 16, 2023, 8:00 PM)
PTX-466 August 2023 Jensen Hughes Threat Intelligence and Monitoring Report [Plan
        to Use]
PTX-467 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E222): Biden
        Used Fake Names Potentially Thousands of Times As Vice President, X
        (Aug. 29, 2023, 8:00 PM)
PTX-468 Trump GPT, WABC 77 (Aug. 30, 2023)                                                                    Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-469 The Rudy Giuliani Show | 08-30-2023, WABC 77 (Aug. 30, 2023)
PTX-470 Joe Pags, Rudy Giuliani - Targeted by a Rogue Partisan DA - He's Pushing                              Relevance and/or
        Back!, Rumble (Aug. 30, 2023)                                                                         Hearsay 402, 802
PTX-471 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E223):
        Analyzing Joe Biden's Use of Pseudonyms as Vice President, X (Aug. 30,
        2023, 8:00 PM)
PTX-472 Katelyn Caralle & Nikki Schwab, EXCLUSIVE: Defiant Rudy Giuliani Says                                 Relevance and/or
        Judge Who Ruled He Defamed Georgia Election Workers ‘Doesn’t Have a                                   Hearsay 402, 802
        Fair Bone in Her Body’, DailyMail.com (Aug. 31, 2023)
PTX-473 The Rudy Giuliani Show | 08-31-2023, WABC 77 (Aug. 31, 2023),
PTX-474 Information, United States v. Stark, No. 1:23-CR-271 (N.D. Ga.)                                       Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-475 The Benny Show (@TheBennyShowPod), ‘INVESTIGATE OBAMA!’                                               Relevance and/or
        Barrack [sic] EXPOSED As Architect of Trump Political Persecution | Hard                              Hearsay 402, 802
        Evidence , X (Sept. 1, 2023, 12:00 PM),
PTX-476 Sandy Fitzgerald, Giuliani to Newsmax: ‘Never Had a Strained Relationship’                            Relevance and/or
        with Trump, Newsmax (Sept. 3, 2023)                                                                   Hearsay 402, 802
PTX-477 The Benny Show, RUDY: “The Real Question Is Not If Biden Is Guilty —                                  Relevance and/or
        It’s How Much Did OBAMA Know…”, YouTube (Sept. 5, 2023)                                               Hearsay 402, 802
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PTX-478 Mark Swanson, Giuliani to Newsmax: Impeachment Is ‘Inevitable’ Outcome,                               Relevance and/or
        Newsmax (Sept. 5, 2023)                                                                               Hearsay 402, 802
PTX-479 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E230): Most
        Americans Know Joe Biden Is a Crook, X (Sept. 8, 2023, 8:00 PM)
PTX-480 Eric Mack, Rudy Giuliani to Newsmax: Defense Fund Can Help Us Go on                                   Relevance and/or
        ‘Offensive’, Newsmax (Sept. 9, 2023)                                                                  Hearsay 402, 802
PTX-481 Nicole Wells, Giuliani to Newsmax: Biden Admin Saying ‘No More Fair                                   Relevance and/or
        Trial’, Newsmax (Sept. 13, 2023)                                                                      Hearsay 402, 802
PTX-482 John C. Gordon | Political Advocate | 09-14-23, WABC 77 (Sept. 14, 2023)                              Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-483 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E234): Hunter
        Biden Indicted On Gun Charges But Is It Actually A Cover-Up?, X (Sept. 14,
        2023, 8:00 PM)
PTX-484 Rudy W. Giuliani (@RudyGiuliani), America’s Mayor Live (E235): Will Joe
        Biden Be on the Ballot in 2024?, X (Sept. 15, 2023, 8:00 PM)
PTX-485 Uncovering the Truth with Rudy Giuliani and Dr. Maria Ryan | 09-17-23,
        WABC 77 (Sept. 17, 2023)
PTX-486 Rudy Giuliani’s Common Sense, America's Mayor Live (E242): Gregg
        Phillips Discusses Irregularities During 2020 Election, Rumble (Sept. 26,
        2023, 8:00 PM)
PTX-487 Sound the Fire Alarms | 10-02-23, WABC 77 (Oct. 2, 2023)                                              Relevance and/or
                                                                                                              Hearsay 402, 802
PTX-488 Supplement to Expert Report of Professor Ashlee Humphreys - Appendix SA
        [May Use]
PTX-489 Supplement to Expert Report of Professor Ashlee Humphreys - Appendix SB
        [May Use]
PTX-490 Supplement to Expert Report of Professor Ashlee Humphreys - Appendix SC
        [May Use]
PTX-491 Supplement to Expert Report of Professor Ashlee Humphreys - Appendix SD
        [May Use]
PTX-492 Supplement to Expert Report of Professor Ashlee Humphreys - Appendix SE
        [May Use]
PTX-493 Supplement to Expert Report of Professor Ashlee Humphreys - Table 1 -
        Total Impressions for Pre-December 23, 2020 Statements [May Use]
PTX-494 Supplement to Expert Report of Professor Ashlee Humphreys - Table 2 -
        Damage Estimates for Pre-December 23, 2020 Statements [May Use]
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PTX-495 Supplement to Expert Report of Professor Ashlee Humphreys - Table 3 -
        Itemized Impression Rate Totals by Category [May Use]
PTX-496 Supplement to Expert Report of Professor Ashlee Humphreys - Table 4 - Cost
        for Reputational Repair Campaign by Category [May Use]
PTX-497 Supplement to the Expert Report of Dr. Ashlee Humphreys [Plan to Use]
PTX-498 Medical Record: Linda F. Womack Visit Summary with Wandrea "Shaye"
        Moss [CONFIDENTIAL] [Plan to Use]
PTX-499 Ruby Freeman House Listing [CONFIDENTIAL] [Plan to Use]
PTX-500 Diana Falzone 'Dumpster Fire': Newsmax's New Streaming Service is Rogues                                 Relevance and/or
        Gallery of Disgraced TV Stars, Mediate.com                                                               Hearsay 402, 802
PTX-501 Letter from United States Attorney for the Northern District of Georgia to Ms.                           Relevance and/or
        Ruby Jewel Freeman re United States v. Chad Christopher Stark                                            Hearsay 402, 802
PTX-502 Ruby Freeman Dobbins Security Solutions Receipt [CONFIDENTIAL] [Plan
        to Use]
PTX-503 Video of Plea, State v. Ellis, Case No. 23SC188947 (Fulton Cnty. GA)                                     Relevance and/or
                                                                                                                 Hearsay 402, 802
PTX-504 NTENTONALLY LEFT BLANK
PTX-505 Georgia Secretary of State - Secure the Vote Website, Fact Checking State                                Relevance and/or
        Farm Arena Video                                                                                         Hearsay 402, 802
PTX-506 Image of thumb drive of State Farm Arena video
PTX-507 Jacki Pick Response to Tim Ryan Follow Up Questions and Result                                           Relevance and/or
                                                                                                                 Hearsay 402, 802
PTX-508 Book, Stealing Your Vote; The Inside Story of the 2020 Election and What it                              Relevance and/or
        Means for 2024, Christina Bobb [Physical Exhibit]                                                        Hearsay 402, 802
PTX-509 Book, Leadership, Rudolph Giuliani [Physical Exhibit]                                                    Relevance and/or
                                                                                                                 Hearsay 402, 802
PTX-510 Ginger Mint [Physical Exhibit] [Plan to Use]
PTX-511 Affidavit of Byung Jin Pak, Freeman et al. v. Giuliani, No. 21-3354 (BAH)                                Relevance and/or
        (D.D.C.) (includes exhibits)                                                                             Hearsay 402, 802
PTX-512 Nolo Contendre Stipulation, Freeman et al. v. Giuliani, No. 21-3354 (BAH)
        (D.D.C.) [Plan to Use]
PTX-513 Superseding Nolo Contendre, Freeman et al. v. Giuliani, No. 21-3354 (BAH)
        (D.D.C.) (D.I. 90) [Plan to Use]


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PTX-514 Docket as of November 9, 2023, Freeman et al. v. Giuliani, No. 21-3354                                  Relevance and/or
        (BAH) (D.D.C.)                                                                                          Hearsay 402, 802
PTX-515 Deposition of Rudy Giuliani before the Select Committee to Investigate the                              Relevance and/or
        January 6th Attack on the U.S. Capitol                                                                  Hearsay 402, 802
PTX-516 Memorandum Opinion and Order, Freeman et al. v. Giuliani, No. 21-3354                                   Relevance and/or
        (BAH) (D.D.C.) (D.I. 82)                                                                                Hearsay 402, 802
PTX-517 Interview of Bernard Kerik before the Select Committee to Investigate the                               Relevance and/or
        January 6th Attack on the U.S. Capitol                                                                  Hearsay 402, 802
PTX-518 A Brief Indictment | 09-14-23, WABC 77 (Sept. 14, 2023),
PTX-519 Medical Record: Linda F. Womack Visit Summary with Wandrea "Shaye"
        Moss [CONFIDENTIAL] [Plan to Use]
PTX-520 Email from Frances Watson to Ruby Freeman re Interview with Secretary of
        State




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